
ERVIN, Judge.
The trial court abused its discretion in restricting visitation between appellant and his son “[bjased on the child’s youth.” Kerr v. Kerr, 486 So.2d 708 (Fla. 5th DCA 1986). And see Ketola v. Ketola, 636 So.2d 850 (Fla. 1st DCA) (section 61.13(2)(b)l, Florida Statutes, abolished the “tender years” doctrine), review dismissed, 649 So.2d 233 (Fla.1994). We therefore reverse and remand with directions for the lower court to grant liberal visitation to appellant.
REVERSED and REMANDED for further proceedings.
MINER and BENTON, JJ., concur.
